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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :      Case No. 22-cr-313 (JEB)
                                            :
ROGER KENT BAUGH,                           :
                                            :
                      Defendant.            :


                    UNOPPOSED MOTION FOR BOOKING ORDER

       The United States of America hereby respectfully moves the Court for the entry of a

booking order so that the Defendant can be properly processed by the U.S. Capitol Police and the

U.S. Marshalls Service.    The United States is authorized to represent to the Court that the

Defendant does not oppose this motion or the entry of the attached booking order.



                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY
                                            D.C. Bar Number 481052


                                     BY:                   /S/ ____________
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